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 7                          UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                               Case No. 2:07-CR-00145-KJD-PAL

12   v.                                              ORDER

13   RONNIE LEE JONES,

14          Defendant.

15

16          Currently before the Court is Defendant Ronnie Lee Jones’ Motion to Suppress Evidence

17   (#442), filed November 18, 2008. The Government filed a Response (#462) on December 12, 2008,

18   to which Defendant filed a Reply (#482), on December 19, 2008. On March 13, 2009, Magistrate

19   Judge Peggy A. Leen issued a Report and Recommendation (#544), recommending that the Court

20   deny the Motion to Suppress. On March 30, 2009, Jones filed an Objection (#605) to the Report and

21   Recommendation, to which the Government filed a Response (#676), on April 15, 2009.

22          The Court has reviewed the Magistrate Judge’s Report and Recommendation, together with

23   the Motion and Response, and Objection and Response and accepts the Magistrate Judge’s

24   Recommendation to Deny Defendant Jones’ Motion to Suppress Evidence.

25          This Court has made a de novo determination regarding the Defendant’s Motion to Suppress

26   Evidence, and adopts the Magistrate Judge’s findings in whole. The Magistrate Judge determined
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 1   that Jones had a legitimate expectation of privacy in the residence at 1420 Helm Street. (See Report

 2   and Recommendation at 4–6.) However, the Magistrate Judge properly found that Jones has failed to

 3   allege any disputed factual issues sufficient to warrant an evidentiary hearing, or that he is entitled to

 4   a Franks Hearing. (Id. at 6–8.) The Magistrate Judge properly found that the telephonic search

 5   warrant application and affidavit established probable cause to search for the items specified. The

 6   Magistrate Judge also properly found that the issuing judge had a substantial basis for believing that

 7   contraband or evidence of the crimes of felon in possession of a firearm and the manufacturing of

 8   methamphetamine would be found at the 1420 Helm Street residence, and thus that there was

 9   probable cause to support the search warrant. The Magistrate Judge also properly found that even if

10   probable cause was lacking, the officers who executed the search warrant reasonably believed the

11   warrant was valid. Additionally, the Magistrate Judge properly found that the issuing judge’s

12   statement of “good luck” made to the detective after authorizing the warrant did not establish a lack

13   of detachment or neutrality, and that the provisions of Fed. R. Crim. P. 41(e)(2)(B) do not apply here

14   because the search warrant challenged in this case was not federal in character. The Magistrate

15   Judge also properly concluded that the detective sought authorization for a nighttime search, and that

16   it is reasonable to infer that the issuing judge authorized nighttime execution of the search warrant.

17          Accordingly, IT IS HEREBY ORDERED that the Magistrate Judge’s Report and

18   Recommendation is accepted and adopted in whole.

19          IT IS FURTHER ORDERED that Defendants’ Motion to Suppress Evidence (#442), is

20   DENIED.

21          DATED this 29th day of April 2009.

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                                                    Kent J. Dawson
25                                                  United States District Judge

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